Case 1:20-cv-03514-UNA Document1-1 Filed 11/30/20 Page 1of5

EEOC Forn 5 (11/09)

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

This form is affected by the Privacy Act of 1974. See enclosed Privacy Act C] FEPA
EEOC

 

570-2013-01471

 

D.C. Office Of Human Rights and EEOC
State or focal Agency, if any

 

Name (indicate Mr., Ms., Mrs.) . . Home Phone (Incl. Area Code) Date of Birth,

Mr. Clifton S. Diaz (571) 431-6234 01-01-1991

 

 

 

Street Address City, State and ZIP Code
3201 Landover Street, Alexandria, VA 22305

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (if more than two, list under PARTICULARS below.)

 

 

 

 

 

Name No. Employees, Members Phone No. (include Area Code)

WMATA, METRO TRANSIT POLICE 500 or More (202) 962-2121

Street Address City, State and ZIP Code

600 5th Street NW, Washington, DC 20001

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Eartiest Latest

[ RACE [ ] COLOR [x] SEX [ ] RELIGION [x] NATIONAL ORIGIN 03-01-2013 05-31-2013
RETALIATION [J AGE [J DISABILITY [ ] GENETIC INFORMATION
] OTHER (Specify) [] CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):
On or about July 23, 2012, | began working as a Police Officer. During the course of my training, ! was the
only Hispanic in my training group. Around March 2013, | missed a day of work due to injury. The following
day | returned to work with a doctor's note. Thereafter, | was required to meet with Employee Assistance
Program and | was cleared for duty. Officer Adam Van Drooyen informed me that | would be able to make up
the day | missed. However, Officer Doniese Collins informed me that | would be terminated for having
missed a day. Sergeant Payne informed me that he wanted me to undergo a polygraph examination in order
to ascertain whether | was lying. Around April 2013, my Field Training Officer Tim Scheele informed me that
it was not necessary to inform him when | had to use the bathroom. However, when [ did use the bathroom
as instructed, Sergeant Stokes accused me of abandoning my work. Around May 2013, | received a work
uniform that did not fit properly. Specifically, the pants were too tight. Thereafter, | submitted a request for a
change in uniform pants. | also notified Sergeant Brian White that my uniform pants were too small.
However, Sergeant White accused me of lying and required me to continue to wear the close-fitting pants
during my work duty. It came to my attention that during my work duties, my supervisory officers audio
recorded me. On or about May 27, 2013, during my day off of work for a holiday, Sergeant White called me
on the phone and said something to the effect that | should resign. On or about May 31, 2013, Deputy Chief
Jeff Delinski said something to the effect of asking me whether | had a girlfriend and laughed at me. | believe
that this question was inappropriate and was asked to determine my sexual orientation. Deputy Chief
Delinski then discharged me.

| believe that | have been discriminated against based on my sex (male) and national origin (Hispanic) in
violation of Title Vil of the Civil Rights Act of 1964, as amended.

 

| want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for Stale and Local Agency Requirements
will advise the agencies if | change my address or phone number and ! will
cooperate fully with them in the processing of my charge in accordance with their

 

 

procedures. | swear or affirm that I have read the above charge and that itis true to
| declare under penaity of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT
SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
xX (month, day, year}

 

Date Charging Party Signature

 

 

EEOC Form 5 (11/09)

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):

 
This form is aff GETS ths Pa KP eA UNA Rocument “| rip4 11/30/20 Page 2 of 5

Statement and other information before completing this form.
[x] EEoc 570-2013-01471

 

D.C. Office Of Human Rights and EEOC
State or local Agency, if any

 

THE PARTICULARS ARE (if additional paper is needed, atlach extra sheet(s)):

 

1 want this charge filed with both the EEOC and the State or focal Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
{ will advise the agencies if | change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

 

procedures. 1 swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief,
SIGNATURE OF COMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
(month, day, year)

 

Date Charging Party Signature

 

 

CP Enclosure with EEOC Form 5 (11/09)

 
PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-679, authority fo request
personal data and its uses are:

1. FORM NUMBERITITLEDATE. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. | WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. It is not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final —

resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the FEPA's

final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title Vil, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
Case 1:20-cv-03514-UNA Document 1-1 Filed 11/30/20 Page 4 of 5

U.S. Equal Employment Opportunity Commission

Washington Field Office
131 M Street, N.E.

Suite 4NWO2F
Washington, DC 20507
(202) 419-0713

TTY (202) 419-0702
Fax: (202) 419-0739

 

Respondent: WMATA, METRO TRANSIT POLICE
EEOC Charge No.: 570-2013-01471

FEPA Charge No.:
July 24, 2013

Clifton S. Diaz
3201 Landover Street
Alexandria, VA 22305

Dear Mr. Diaz:

This is with reference to your recent written correspondence or intake questionnaire in which you alleged employment
discrimination by the above-named respondent. The information provided indicates that the matter complained of is
subject to the statute(s) checked off below:

[X] Title Vil of the Civil Rights Act of 1964 (Title VII)

[] The Age Discrimination in Employment Act (ADEA)

[] The Americans with Disabilities Act (ADA)

[] The Equal Pay Act (EPA)

[] The Genetic Information Nondiscrimination Act (GINA)

The attached EEOC Form 5, Charge of Discrimination, is a summary of your claims based on the information you
provided. Because the document that you submitted to us constitutes a charge of employment discrimination, we have
complied with the law and notified the employer that you filed a charge. Before we investigate your charge, however,
you must sign and return the enclosed Form.

To enable proper handling of this action by the Commission you shouid:
(1) Review the enclosed charge form and make corrections.

(2) Sign and date the charge in the bottom left hand block where | have made an “X”. For purposes of meeting
the deadline for filing a charge, the date of your original signed document will be retained as the original filling
date.

(3) Return the signed charge to this office.

Before we initiate an investigation, we must receive your signed Charge of Discrimination (EEOC Form 5). Please sign
and retum the charge within thirty (30) days from the date of this letter. Under EEOC procedures, if we do not hear from
you within 30 days or receive your signed charge within 30 days, we are authorized to dismiss your charge and issue you
a right to sue letter allowing you fo pursue the matter in federal court. Please be aware that after we receive your signed
Form 5, the EEOC will send a copy of the charge to D.C. Office Of Human Rights 441 4th Street, N.W. Room 570N
Washington, DC 20001 as required by our procedures. If that agency processes the charge, it may require the charge to
be signed before a notary public or an agency official. The agency will then investigate and resolve the charge under their
statute.
 

Case 1:20-cv-03514-UNA Document 1-1 Filed 11/30/20 Page 5of5

Please use the "EEOC Charge No." listed at the top of this letter whenever you call us about this charge. Please also
notify this office of any change in address or of any prolonged absence from home. Failure to cooperate in this matter
may lead to dismissal of the charge.

Please also read the enclosed brochure, “What You Should Know Before You File A Charge With EEOC,” for answers

to frequently asked questions about employee rights and the EEOC process. If you have any questions, please call
me at the number listed below. If you have to call long distance, please call collect.

Sincerely,

 

Mark Payne
Legal Inter
(202) 419-0782

Office Hours: Monday — Friday, 8:30 a.m. - 5:00 p.m.
WWW.ee0Cc.gov

Enclosure(s)
Copy of EEOC Form 5, Charge of Discrimination
Copy of EEOC Uniform Brochure, “What You Should Know Before You File A Charge With EEOC.”
